       Case 3:22-cv-02646-LB Document 97-2 Filed 01/04/23 Page 1 of 3




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12

13   [Additional counsel listed on final page]
14
                                UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16                                 SAN FRANCISCO DIVISION
17   LAURA LOOMER, as an individual and in her           Case No. 3:22-cv-02646-LB
18   capacity as a Candidate for United States
     Congress, and LAURA LOOMER FOR                      [PROPOSED] ORDER EXTENDING
19   CONGRESS, INC.,                                     THE TIME FOR DEFENDANTS TO
                                                         FILE REPLIES IN SUPPORT OF
20                         Plaintiffs,                   MOTIONS TO DISMISS, FOR THE
            v.                                           HEARING ON DEFENDANTS’
21                                                       MOTIONS TO DISMISS, AND FOR
22   META PLATFORMS, INC., MARK                          THE INITIAL CASE MANAGEMENT
     ZUCKERBERG, in his capacity as CEO of Meta          CONFERENCE IN LIGHT OF
23   Platforms, Inc. and as an individual, TWITTER,      TWITTER, INC. AND JACK
     INC., and JACK DORSEY, in his capacity as           DORSEY’S SUBSTITUTION OF
24   former CEO of Twitter, Inc. and as an individual,   COUNSEL
     THE PROCTOR & GAMBLE CO., and DOES 1-
25   100, individuals,                                   Hon. Laurel Beeler
26                         Defendants.
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      CASE NO. 3:22-CV-02646-LB                                                [PROPOSED] ORDER
                                                                        EXTENDING TIME FOR REPLY
       Case 3:22-cv-02646-LB Document 97-2 Filed 01/04/23 Page 2 of 3




 1                                      [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:
 3
            The deadlines for Defendants Meta Platforms, Inc. and Mark Zuckerberg, Defendants
 4
     Twitter, Inc. and Jack Dorsey, and Defendant The Procter and Gamble Company to file Replies in
 5
     support of their Motions to Dismiss shall be extended to and including February 13, 2023; the
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     hearing on Defendants’ Motions to Dismiss shall be moved to March 9, 2023 at 9:30 a.m.; and the
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 8   Initial Case Management Conference shall be moved to April 20, 2023 at 11:00 a.m.

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10   Date: __________________________                   ___________________________________
11                                                      The Honorable Laurel Beeler
12                                                      United States Magistrate Judge

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      CASE NO.   3:22-CV-02646-LB             1                                 [PROPOSED] ORDER
                                                                         EXTENDING TIME FOR REPLY
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     CASE NO.   3:22-CV-02646-LB                                       [PROPOSED] ORDER
                                                                EXTENDING TIME FOR REPLY
